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EXHIBIT B

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Tax Exempt and Government Entities

IRS EXEMPT ORGANIZATIONS

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Applying for 501(c)(3) Tax-Exempt Status

ederal tax law provides tax benefits to nonprofit organizations recognized as exempt
from federal income tax under section 501(c)(3) of the Internal Revenue Code (IRC).

It requires that most organizations apply to the Internal Revenue Service (IRS) for that status.

This IRS Publication 4220 presents general guidelines for organizations that seek tax-exempt
status under section 501(c)(3) of the IRC. Content includes references to the statute, Treasury
regulations, other IRS publications that explain the requirements for tax-exempt status, and

IRS forms with instructions. Publication 4220 is neither comprehensive nor intended to address
every situation. As an alternative to applying for exemption, an organization may obtain many
of the benefits of 501(c)(3) status by affiliating with an existing charity that acts as its agent.

It is important to note that the existing charity must be given full control and authority over

the program.

To learn more about the rules and procedures that pertain to organizations applying for
exemption from federal income tax under section 501(c)(3) of the IRC, see Publication 557,
Tax-Exempt Status for Your Organization. For assistance on 501(c)(3) status, you may also

want to consult a tax adviser.
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Why Apply for 501(c)(3) Status?

The benefits of having 501(c)(3) status include exemption from federal income tax
and eligibility to receive tax-deductible charitable contributions. To qualify for these
benefits, most organizations must file an application with, and be recognized by,
the IRS as described in this publication. Another benefit is that some organizations
may be exempt from certain employment taxes.

Individual and corporate donors are more likely to support organizations with
501(c)(3) status because their donations can be tax deductible. Recognition of
exemption under section 501(c)(3) of the IRC assures foundations and other
grant-making institutions that they are issuing grants or sponsorships to permitted
beneficiaries.

An IRS determination of 501(c)(3) status is recognized and accepted for other
purposes. For example, state and local officials may grant exemption from income,
sales or property taxes. In addition, the U.S. Postal Service offers reduced postal
rates to certain organizations.

Who is Eligible for 501(c)(3) Status?

There are three key components for an organization to be exempt from federal
income tax under section 501(c)(3) of the IRC. A not-for-profit (i.e., nonprofit)
organization must be organized and operated exclusively for one or more exempt
purposes.

Organized - A 501(c)(3) organization must be organized as a corporation, trust,
or unincorporated association. An organization's organizing documents (articles
of incorporation, trust documents, articles of association) must:

# limit its purposes to those described in section 501(c)(3) of the IRC;

* not expressly permit activities that do not further its exempt purpose(s), i.e.,
unrelated activities; and

# permanently dedicate its assets to exempt purposes.

Operated ~ Because a substantial portion of an organization’s activities must
further its exempt purpose(s), certain other activities are prohibited or restricted
including, but not limited to, the following activities. A 501(c)(3) organization:

= must absolutely refrain from participating in the political campaigns of candidates
for local, state, or federal office;

= must restrict its lobbying activities to an insubstantial part of its total activities;
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= must ensure that its earnings do not inure to the benefit of any private
shareholder or individual;

= must not operate for the benefit of private interests such as those of its founder,
the founder's family, its shareholders or persons controlled by such interests;

™ must not operate for the primary purpose of conducting a trade or business that
is not related to its exempt purpose, such as a school’s operation of a factory; and

= must not have purposes or activities that are illegal or violate fundamental
public policy.

Exempt Purpose ~ To be tax exempt, an organization must have one or more
exempt purposes, stated in its organizing document. Section 501(c)(3) of the IRC
lists the following exempt purposes: charitable, educational, religious, scientific,
literary, fostering national or international sports competition, preventing cruelty
to children or animals, and testing for public safety.

501(c)(3) Organizations

The most common types of 501(c)(3) organizations are charitable, educational,
and religious.

CHARITABLE

Charitable organizations conduct activities that promote:

- relief of the poor, the distressed, or the underprivileged

- advancement of religion

- advancement of education or science

- erection or maintenance of public buildings monuments, or works
- lessening the burdens of government

- lessening neighborhood tensions

- eliminating prejudice and discrimination

- defending human and civil rights secured by law

- combating community deterioration and juvenile delinquency

EDUCATIONAL

Educational organizations include:
- schools such as a primary or secondary school, a college, or a professional or trade school
- organizations that conduct public discussion groups, forums, panels, lectures, or similar programs

- organizations that present a course of instruction by means of correspondence or through the
use of television or radio

~ museums, zoos, planetariums, symphony orchesiras, or similar organizations
~ nonprofit day-care centers
- youth sports organizations
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RELIGIOUS

The term church includes synagogues, temples, mosques, and similar types of organizations.
Although the IRC excludes these organizations from the requirement to file an application

for exemption, many churches voluntarily file applications for exemption. Such recognition by the
IRS assures church leaders, members, and contributors that the church is tax exempt under
section 501(c)(3) of the IRC and qualifies for related tax benefits. Other religious organizations
that do not carry out the functions of a church, such as mission organizations, speakers’
organizations, nondenominational ministries, ecumenical organizations, or faith-based social
agencies, may qualify for exemption. These organizations must apply for exemption from the
IRS. See Publication 1828, Tax Guide for Churches and Religious Organizations, for more details.

Public Charities and Private Foundations

Every organization that qualifies for tax-exempt status under section 501(c)(3)
of the IRC is further classified as either a public charity or a private foundation.
Under section 508(b) of the IRC, every organization is automatically classified
as a private foundation unless it meets one of the exceptions listed in sections
508(c) or 509(a).

For some organizations, the primary distinction between a classification as a
public charity or a private foundation is the organization's source of financial
support. Generally, a public charity has a broad base of support while a private
foundation has very limited sources of support. This classification is important
because different tax rules apply to the operations of each. Deductibility of
contributions to a private foundation is more limited than deductibility of contribu-
tions to a public charity. See Publication 526, Charitable Contributions, for more
information on deductibility of contributions. In addition, private foundations are
subject to excise taxes that are not imposed on public charities. For more informa-
tion about the special tax rules that apply to private foundations, see Publication
4221-PF, Compliance Guide for 501(c)(3) Private Foundations, and the Life Cycle
of a Private Foundation website on www.irs.gov/eo.

Organizations statutorily classified as public charities under section 509(a) of
the IRC are:

a churches;
=» schools;

® organizations that provide medical or hospital care (including the provision of
medical education and in certain cases, medical research);

® organizations that receive a substantial part of their support in the form of
contributions from publicly supported organizations, governmental units, and/or
from the general public;
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# organizations that normally receive not more than one-third of their support from
gross investment income and more than one-third of their support from contribu-
tions, membership fees, and gross receipts from activities related to their exempt
functions; and

= organizations that support other public charities.

If the organization requests public charity classification based on receiving support
from the public, it must continue to seek significant and diversified public support
in later years. Beginning with the organization's sixth year of existence and for all
succeeding years, the organization must demonstrate in its annual return that it
receives the required amount of public support. If the organization does not meet
the public support requirement, it could be reclassified as a private foundation.

In addition, to avoid unexpectedly losing its public charity classification, the
organization should keep careful track of its public support information throughout
the year, so that it will have the information it needs to complete Schedule A, Form
990 or 990-EZ. Unless the organization is committed to raising funds from the
public, it may be more appropriate to consider an alternate statutorily based public
charity classification. See Publication 557, Tax-Exempt Status for Your Organization,
for assistance with determining how your organization would be classified.

What Responsibilities Accompany 501(c)(3) Status?

While conferring benefits on 501(c)(3) organizations, federal tax law also imposes
responsibilities on organizations receiving that status.

Recordkeeping

Section 501(c)(3) organizations are required to keep books and records detailing
all activities, both financial and nonfinancial. Financial information, particularly
information on its sources of support (contributions, grants, sponsorships, and
other sources of revenue) is crucial to determining an organization's private
foundation status. See Publications 4221-PC and 4221-PF, Publication 557, and
the instructions to Forms 990, 990-EZ, and 990-PF for more information.

Filing Requirements

Annual Information Returns ~ Organizations recognized as tax exempt under
section 501(c)(3) of the IRC may be required to file an annual information return:
Form 990, Form 990-EZ, 990-N (see below) or Form 990-PF along with certain
schedules that may be required for your organization. Certain categories of organ-
izations are excepted from filing Form 990 or Form 990-EZ, including churches.
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See the instructions with each of these forms for more information. See the listed
publications and instructions in the “Recordkeeping” section above for more infor-
mation and guidance.

Annual Electronic Notice - To meet their annual filing requirement, organizations
with gross receipts normally $50,000 or less may choose to submit an annual
electronic notice using Form 990-N, Electronic Notice (e-Postcard) for Tax-Exempt
Organizations Not Required To File Form 990 or 990-EZ. The e-Postcard can only
be filed electronically; there is no paper version. For more information about the
e-Postcard, go to www.irs.gov/Charities-&-Non-Profits.

Any organization that fails to file a required annual return or notice for three
consecutive years will automatically lose its tax-exempt status, by act of law, as
of the due date of the return for the third consecutive year.

Unrelated Business Income Tax - |n addition to filing Form 990, 990-EZ, or
990-PF, an exempt organization must file Form 990-T if it has $1,000 or more of
gross income from an unrelated trade or business during the year. The organization
must make quarterly payments of estimated tax on unrelated business income if

it expects its tax liability for the year to be $500 or more. The organization may

use Form 990-W to help calculate the amount of estimated payments required. In
general, the tax is imposed on income from a regularly carried-on trade or business
that does not further the organization's exempt purposes (other than by providing
funds). See Publication 598, Tax on Unrelated Business Income of Exempt
Organizations, and the Form 990-T instructions for more information.

Disclosure Requirements

Public inspection of Exemption Applications and Returns - Section 501(c)(3)
organizations must make their applications (Form 1023 or 1023-EZ) and the
annual returns (Form 990, Form 990-EZ or Form 990-PF) available to the public
for inspection, upon request and without charge (except for a reasonable charge
for copying). Each annual return must be made available for a three-year period
starting with the filing date of the return. The IRS is also required to make these
documents available for public inspection and copying. These documents must be
made available at the organization's principal office during regular business hours.
The requests may be made in person or in writing. See Publication 557 for more
information.

For tax years beginning after August 17, 2006, section 501(c)(3) organizations that
file unrelated business income tax returns (Forms 990-T) must make them available
for public inspection, and the IRS must make those returns publicly available.
Organizations should not include private information of donors or other individuals,
such as a social security number, in any information return.
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Charitable Contributions—-Substantiation and Disclosure ~ Organizations that
are tax exempt under section 501(c)(3)of the IRC must meet certain requirements
for documenting charitable contributions. The federal tax law imposes two general
disclosure rules: 1) a donor must obtain a written acknowledgment from a charity
for any single contribution of $250 or more before the donor can claim a charitable
contribution on his/her federal income tax return; 2) a charitable organization

must provide a written disclosure to a donor who makes a payment in excess of
$75 partly as a contribution and partly for goods and services provided by the
organization. See Publication 1771, Charitable Contributions — Substantiation and
Disclosure Requirements, for more information.

Recordkeeping Requirements

A donor cannot claim a tax deduction for any contribution of cash, a check or
other monetary gift made on or after January 1, 2007, unless the donor maintains
a record of the contribution in the form of either a bank record (such as a cancelled
check) or a written communication from the charity (such as a receipt or a letter)
showing the name of the charity, the date of the contribution, and the amount of
the contribution.

How Do You Apply for 501(c)(3) Status?

Organizations that want to apply for 501(c)(3) status should be aware of the forms
required, the user fee, the filing deadline, and the processing procedures.

FORMS TO FILE

FORM SS-4

An Employer Identification Number (EIN) is your account number with the IRS and is required regardless
of whether the organization has employees. Include the organization's EIN on all correspondence to the
IRS. Apply for an EIN by completing Form SS-4, Application for Employer Identification Number, by calling
toll-free (866) 816-2065, or by submitting an online version of the form via www.irs.gov. Form SS-4 is
available at Social Security Administration offices, by request through the IRS at (800) 829-3676, and by
downloading the form from the IRS Web site at www.irs.gov. For more information about EINs, see
Publication 1635, Understanding Your EIN.

Do not apply for an EIN until your organization is legally formed. Applying for an EIN signals to IRS computer
systems that an organization has been created, and therefore triggers filing requirements.
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TYPES OF APPLICATIONS

FORM 1023

Complete Form 1023, Application for Recognition of Exemption Under Section 501(c)(3) of the internal
Revenue Code, and mail to the address indicated in the instructions. The required user fee must accompa-
ny Form 1023. The IRS will not process an application until the user fee is paid.

FORM 1023-EZ

Small organizations may file Form 1023-EZ, Streamlined Application for Recognition of Exemption Under
Section 501(c)(3) of the Internal Revenue Code, instead of Form 1023, and pay the required user fee. Form
1023-E2Z must be filed electronically. For more information, see Form 1023 and 1023-EZ.

FORM 1023, Interactive

Interactive version of Form 1023, Application for Recognition of Exemption Under Section 501(c){3) of the
Internal Revenue Code, includes helpful hints and links to help applicants submit a complete application.

FORMS 2848 and 8821

Attach Form 2848, Power of Attorney and Declaration of Representative, if someone other than your princi-
pal officer or director will represent you on matters about the application. Attach Form 8821, Tax Information
Authorization, if you want the IRS to be able to provide information about your application to someone other
than a principal officer or director.

Most organizations must file this application by the end of the 27th month after
they were legally formed.

Formation date: A corporation is legally formed when its articles of incorporation
are filed with the state; an unincorporated association is legally formed when its
organizing document is adopted by the signature of at least two individuals; and a
trust is legally formed when all non-charitable interests in the trust property expire,
or when it is funded if there are no non-charitable interests.

An organization that is not a private foundation is not required to file an application
unless its annual gross receipts are normally more than $5,000. An organization
must file an application within 90 days of the end of the tax year in which it exceeds
this threshold.

Example 7. An organization that was created on January 1, 2013, and exceeds the
gross receipts threshold, must file an application by April 30, 2015.
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Example 2: An organization that was created on January 1, 2012, but did not
exceed the gross receipts threshold until its tax year ending December 31, 2013,
must file an application by March 31, 2014.

An organization that files its application before the deadline will usually be
recognized as tax exempt under section 501(c)(3) of the IRC from the date of
its creation, if it meets exemption requirements. An organization that files an
application after the deadline will usually be recognized as tax exempt from the
date of the application. It may also request exemption retroactive as of the date
of creation. See the instructions to the application form for more information.

Determination Letter

The IRS tax specialist reviewing an application may request additional information
in writing. If all information received establishes that an organization meets the
requirements for exemption, the IRS will issue a determination letter recognizing
the organization's exempt status and providing its public charity classification.
This is an important document that should be kept in the organization's permanent
records.

While Your Application is Pending

While an organization’s application is waiting for processing by the IRS, the
organization may operate as a tax-exempt organization.

Most organizations are required to file an annual information return (Form 990,
Form 990-EZ or Form 990-PF) or electronic notice (Form 990-N) while their
application for exemption is pending. An organization's exempt status can be
automatically revoked while its application is pending if it has not filed a required
return or notice for three consecutive tax periods after its formation date. These
returns are subject to public disclosure. If the organization has unrelated business
income of more than $1,000, it must also file a Form 990-T. See Publication 4221-PC
or 4221-PF for more information.

Although donors have no assurance that contributions are tax-deductible for
federal income tax purposes until the application is approved, contributions

made while an application is pending would qualify if the application is approved.
However, if the application is disallowed, contributions would not qualify. Moreover,
the organization would be liable for filing federal income tax returns unless its
income is otherwise excluded from federal taxation.

The EO website (www-irs.gov/charities) provides information about how to find out
about the status of an application for tax-exempt status.
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How Do You Get IRS Assistance and Information?

The IRS offers help through live telephone assistance and with reading material that
is accessible either online, via mail, or at IRS walk-in offices in many areas across
the country. IRS forms and publications can be downloaded from the Internet and
ordered by telephone.

Specialized Assistance for Tax-Exempt Organizations

Get help with questions about applying for tax-exempt status, annual filing
requirements, and information about exempt organizations through the IRS Exempt
Organizations (EO).

EO Web Site irs.gov/Charities-&-Non-Profits

Highlights:

= The Life Cycle of a Public Charity and Life Cycle of a Private Foundation
describes the compliance obligations of 501(c)(3) organizations.

# Subscribe to the EO Update, an electronic newsletter with information for
tax-exempt organizations and tax practitioners who represent them.

Web-based Training Modules www.stayexemptirs.gov

EO Customer Service (877) 829-5500

EO Determinations Office Mailing Address

Internal Revenue Service

TE/GE, EO Determinations Office
P.O, Box 2508

Cincinnati, OH 45201
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Tax Publications for Exempt Organizations

Get publications via the Internet or by calling the IRS at (800) 829-3676.

Pub 15, Circular E, Employer's Tax Guide
Pub 15-A, Employer’s Supplemental Tax Guide
Pub 463, Travel, Entertainment, Gift, and Car Expenses

Pub 517, Social Security and Other Information for Members of the Clergy and
Religious Workers

Pub 526, Charitable Contributions

Pub 538, Accounting Periods and Methods

Pub 557, Tax-Exempt Status for Your Organization

Pub 583, Starting a Business and Keeping Records

Pub 598, Tax on Unrelated Business Income of Exempt Organizations

Pub 1771, Charitable Contributions—Substantiation and Disclosure Requirements
Pub 1828, Tax Guide for Churches and Religious Organizations

Pub 3079, Tax-Exempt Organizations and Gaming

Pub 3833, Disaster Relief, Providing Assistance Through Charitable Organizations
Pub 4302, A Charity's Guide to Vehicle Donations

Pub 4303, A Donor's Guide to Vehicle Donations

Pub 4221-NC, Compliance Guide for Tax-Exempt Organizations (other than 501(c)(3)
Public Charities and Private Foundations)

Pub 4221-PC, Compliance Guide for 501(c)(3) Public Charities

Pub 4221-PF, Compliance Guide for 501(c)(3) Private Foundations

Forms for Exempt Organizations

Get forms via the Internet or by calling the IRS at (800) 829-3676.

Form SS-4, Application for Employer Identification Number
Form 941, Employer's Quarterly Federal Tax Return

Form 990, Return of Organization Exempt From Income Tax
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Form 990-EZ, Short Form Return of Organization Exempt From Income Tax

Form 990-PF, Return of Private Foundation or Section 4947(a)(1) Nonexempt
Charitable Trust Treated as a Private Foundation

Form 990-N, Electronic Notice (e-Postcard) For Tax-Exempt Organizations Not
Required to File Form 990 or 990-EZ (available electronically only)

Form 990-T, Exempt Organization Business Income Tax Return

Form 990-W, Estimated Tax on Unrelated Business Taxable Income for
Exempt Organizations

Form 1023, Application for Recognition of Exemption Under Section 501(c)(3)
of the Internal Revenue Code

Form 1023-EZ, Streamlined Application for Recognition of Exemption Under
Section 501(c)(3) of the Internal Revenue Code

Form 1023, Interactive
Form 1041, U.S. Income Tax Return for Estates and Trusts

Form 4720, Return of Certain Excise Taxes Under Chapters 41 and 42 of the
Internal Revenue Code

Form 5578, Annual Certification of Racial Non-Discrimination for a Private School
Exempt from Federal Income Tax

Form 5768, Election/Revocation of Election by an Eligible Section 501(c)(3)
Organization to Make Expenditures to Influence Legislation

Form 8282, Donee Information Return
Form 8283, Noncash Charitable Contributions
Form 8868, Extension of Time To File an Exempt Organization Return

FinCEN Form 114, Report of Foreign Bank and Financial Accounts
(filed with Treasury Department)

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